
 The People of the State of New York,
	Respondent,againstLeon Castano, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Herbert J. Moses, J.), rendered February 22, 2017, convicting him, upon his plea of guilty, of criminal facilitation in the fourth degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Herbert J. Moses, J.), rendered February 22, 2017, affirmed.
The accusatory instrument was not jurisdictionally defective. It charged all the elements of criminal possession of a controlled substance in the seventh degree (see Penal Law § 220.03), and set forth sufficient factual allegations to show the basis for the arresting officer's conclusion that the substance at issue was a controlled substance. The instrument recited that after defendant gave an undercover officer "two alprazolam pills" in exchange for $20, the police recovered from defendant "12 alprazolam pills from an orange bottle" on defendant's person, and that the arresting officer knew that the drugs were alprazolam "based on [his] professional training as a police officer in the identification of drugs, [his] prior experience as a police officer making drug arrests, and an observation of the packaging, which is characteristic of this type of drug" (see People v Smalls, 26 NY3d 1064 [2015]; People v Kalin, 12 NY3d 225, 231-232 [2009]; People v Pearson, 78 AD3d 445 [2010], lv denied 16 NY3d 799 [2011]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: March 14, 2018










